 1
 2
 3
 4
 5
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11   Irvin Musgrove,                                     Case No.: 20cv614-JO-BLM
12                                      Plaintiff,
                                                         ORDER DENYING PLAINTIFF’S
13   v.                                                  MOTIONS FOR
                                                         RECONSIDERATION
14   Oceanside Housing Authority et al,
15                                    Defendants.
16
17
18
19         Pro se Plaintiff Irvin Musgrove filed three motions seeking to “address the fraud on
20   the court and return [his] case back to the point before the fraud began.” Dkts. 222, 224,
21   226. In these motions, Plaintiff requests that the Court return the case to its procedural
22   posture prior to the Court’s March 4, 2021 order, including restoring his dismissed Unruh
23   Act claim. See Dkt. 222 at 12 (“There have been several acts of fraud on the court in this
24   case from 03/04/2021 forward…this was the point from which fraud on the court took
25   hold.”); Dkt. 224 at 3 (requesting dismissal of Unruh Act claim “to be retracted”); Dkt. 226
26   (alleging fraud in the case beginning with the Court’s March 4, 2021 order). The Court
27   construes these motions as requests to reconsider each of the Court’s orders issued from
28   March 4, 2021, to the present.

                                                     1
                                                                                   20cv614-JO-BLM
 1           Civil Local Rule 7.1(i)(1) permits a party to seek reconsideration of an order. See
 2   S.D. Cal. Civ. L.R. 7.1(i). Reconsideration is “an extraordinary remedy, to be used
 3   sparingly in the interests of finality and conservation of judicial resources.” Kona Enters.,
 4   Inc. v. Estate of Bishop, 229 F.3d 877, 890 (9th Cir. 2000) (internal quotation marks
 5   omitted). The Ninth Circuit has identified three grounds for reconsideration: (1) newly
 6   discovered evidence; (2) an intervening change in controlling law; or (3) to correct clear
 7   error in the prior decision or a result of manifest injustice. Mustafa v. Clark Cty. Sch. Dist.,
 8   157 F.3d 1169, 1179 (9th Cir. 1998). Here, Plaintiff has not identified newly discovered
 9   evidence, intervening law, clear error, or manifest injustice that warrants reconsideration
10   of the rulings in the case from March 4, 2021, to the present. The Court therefore denies
11   Plaintiff’s reconsideration requests. The Court also denies these requests to the extent
12   Plaintiff presents new arguments and evidence that he reasonably could have raised earlier
13   in the litigation. See Kona, 229 F.3d at 890 (holding that party seeking reconsideration
14   cannot raise new arguments or present new evidence that could have been raised earlier).
15   Accordingly, the Court DENIES Plaintiff’s motions for reconsideration [Dkts. 222, 224,
16   226].
17           IT IS SO ORDERED.
18   Dated: June 23, 2023
19
20
21
22
23
24
25
26
27
28

                                                    2
                                                                                      20cv614-JO-BLM
